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                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 PINK FLOYD (1987) LIMITED,

          Plaintiff,                                     Civil Action No.: 23-cv-14532

 v.                                                      Judge Charles P. Kocoras

 THE PARTNERSHIPS AND UNINCORPORATED      Magistrate Judge Jeffrey I. Cummings
 ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

          Defendants.

  PLAINTIFF’S MOTION FOR ENTRY OF DEFAULT AND DEFAULT JUDGMENT
         AGAINST THE DEFENDANTS IDENTIFIED IN SCHEDULE A

        Plaintiff hereby moves this Honorable Court for entry of Default and Default Judgment

against the Defendants identified in Schedule A.

        Plaintiff files herewith a Memorandum of Law in support.

DATED: November 14, 2023                                  Respectfully submitted,

                                                   /s/ Keith A. Vogt
                                                   Keith A. Vogt (Bar No. 6207971)
                                                   Keith Vogt, Ltd.
                                                   33 West Jackson Boulevard, #2W
                                                   Chicago, Illinois 60604
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                                                   ATTORNEY FOR PLAINTIFF
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                               CERTIFICATE OF SERVICE

        I hereby certify that on November 14, 2023, I will electronically file the foregoing with
the Clerk of the Court using the CM/ECF system, I will electronically publish the documents on
a website, and I will send an e-mail to the e-mail addresses provided for Defendants by third
parties that includes a link to said website.

                                                    /s/ Keith A. Vogt
                                                    Keith A. Vogt




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